    Case: 1:16-cv-03005 Document #: 5 Filed: 06/24/16 Page 1 of 1 PageID #:24




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS

MARTIN BERTISCH,                               )
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )   Case No. 1:16-cv-03005-HDL
                                               )
BAXALTA INCORPORATED, WAYNE T.                 )
HOCKMEYER, BLAKE E. DEVITT,                    )
KAREN FERRANTE, JOHN D. FORSYTH,               )
GAIL D. FOSLER, JAMES R. GAVIN III,            )
LUDWIG N. HANTSON, FRANÇOIS                    )
NADER, ALBERT P.L. STROUCKEN,                  )
SHIRE PLC, and BEARTRACKS, INC.,               )
                                               )
                       Defendants.             )

                PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), plaintiff hereby dismisses the above-captioned action (the “Action”) without

prejudice. Defendants have filed neither an answer nor a motion for summary judgment in

the Action.

Dated: June 24, 2016                           DITOMMASO ♦ LUBIN, P.C.

                                         By:    /s/ Vincent L. DiTommaso
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